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                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND



 MARTIN J. WALSH,
 SECRETARY OF LABOR,
 UNITED STATES
 DEPARTMENT OF LABOR,

         Plaintiff,

         V.


                                                       Civil Action No. TDC-19-0934
 SOFIA & GICELLE,INC., d/b/a Fast
 Eddie's, Sports & Billiards, a corporation^
 and
 MARIA AGUILAR,individually, and as
 President and owner ofthe aforementioned
 corporation^

         Defendants.




                                           ORDER


        For the reasons stated in the accompanying Memorandum Opinion,it is hereby ORDERED

that:


1.      Judgment is entered in favor ofthe Secretary ofLabor on the minimum wage and overtime

        pay claims under the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 206(a), 207(a)

        (2018), relating to each specific employee included in the table below, and the

        corresponding damages and liquidated damages are awarded for each employee, as set

        forth in the table below:
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                                    Min Wages    OT Wages     Total Wages     Liquidated
       Last Name       First Name                                                           Total($)
                                    Owed ($)     Owed ($)      Owed ($)      Damages(S)

                                            Service Staff
 I   Albrecht         Mellissa        2,515.63                    2,515.63      2,515.63      5,031.27
2    Alvarez          Jose            1,518.52      163.07        1,681.59      1,681.59      3,363.17
3    Babbit           Erica             221.92                     221.92         221.92        443.85
4    Bellamy          Diamoniq          223.34                     223.34         223.34       446.68
5    Berri            Camari         16,291.72       25.37       16,317.09      16,317.09    32,634.18
6    Brooks           Chrishauna        294.33                     294.33         294.33        588.67
7    Burton           Charbai           876.18                     876.18         876.18      1,752.36
8    Clark            Catherine          43.50                      43.50          43.50         87.00
9    Collins          Kennedi            95.13                      95.13          95.13        190.27
10   Cook             Joanna          6,804.17                   6,804.17       6,804.17     13,608.33
11   Cowan Parrlsh    Stephani        2,519.72                    2,519.72      2,519.72      5,039.43
12   Cummings         Alexius           212.14                     212.14         212.14       424.27
13   Faulks           Christina       5,281.68                   5,281.68       5,281.68     10,563.35
14   Ferman           Enrique        13,524.83      637.58      14,162.41      14,162.41     28,324.83
15   Hernandez        Jose           44,185.23                  44,185.23      44,185.23     88,370.46
16   Hovlngs          Aguila            159.60                     159.60         159.60       319.20
17   Howard           Amber             139.49                     139.49         139.49        278.98
18   Hudson           James          14,743.37    3,342.50       18,085.87      18,085.87    36,171.74
19   Inman            Glen             202.13                      202.13         202.13       404.26
20   Jenkins          Eleana          2,113.07                   2,113.07       2,113.07      4,226.14
21   Johnson          D'Ann           1,247.02       99.44       1,346.46       1,346.46      2,692.92
22   Jones            Genrara          361.93                      361.93         361.93       723.86
23   Jones            Kendra          7,312.60                   7,312.60       7,312.60     14,625.20
24   Jose             Ever              174.29                     174.29         174.29       348.58
25   Kent             Destinee        2,862.68                   2,862.68       2,862.68      5,725.36
26   Klove            Hannah            102.95                     102.95         102.95       205.90
27   Long             Ayanna           345.76                      345.76         345.76       691.52
28   Lopez            Glenda         37,350.58     1,522.50     38,873.08      38,873.08     77,746.16
29   McPherson        Janay           2,757.67                   2,757.67       2,757.67      5,515.35
30   Miles            Brook          20,625.35       10.75      20,636.10      20,636.10     41,272.20
31   Montoya          Belkys          4,922.75                   4,922.75       4,922.75      9,845.50
32   Parker           Mary Jane      17,442.63     1,010.03     18,452.66      18,452.66     36,905.32
33   Rodriguez        Shayla          1,105.21                   1,105.21       1,105.21      2,210.42
34   Ruiz Sanchez     Naomi            579.00                      579.00         579.00      1,158.00
35   Suter            Janelle         9,876.05                   9,876.05       9,876.05     19,752.09
36   Washington       Jakema            51.40                       51.40          51.40        102.80
                                            KitChen Staff
1    Asael            Aranniva         177.48                      177.48         177.48       354.96
2    Barksdale        Carlos          1,291.05                   1,291.05       1,291.05      2,582.10
3    Garcia Marin     Kenia            609.00                      609.00         609.00      1,218.00
4    Jose             Jose             114.62                      114.62         114.62       229.25
5    Morales          Anthony         2,612.00                   2,612.00       2,612.00      5,224.00
6    Morgan           Tracy            978.11                      978.11         978.11      1,956.22
7    Rufino           Alberto          472.25                      472.25         472.25       944.50
8    Scott            Trenida         4,040.05      472.50       4,512.55       4,512.55      9,025.10
9    Simmons          Jimmy           1,658.81                   1,658.81       1,658.81      3,317.62
10   Wolfe            Paul           25,328.34    4,994.80      30,323.14      30,323.14     60,646.28
11   Yearwood         Joseph         14,105.76    2,429.75      16,535.51     16,535.51      33,071.02
TotaKSy           ,                 270,471.04 . 14,708.29     285,179.33. ; 285,179.33     570,358.65
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2.    Injunctive relief is granted against Defendants, who are hereby ENJOINED from engaging

      in future violations ofthe FLSA as follows:

      a.       Defendants shall not violate Section 6 of the FLSA,29 U.S.C. § 206;

      b.       Defendants shall pay all employees at least the minimum wage for all hours worked

               under Section 6;

      c.       Defendants shall not violate Section 7 of the FLSA,29 U.S.C. § 207;

      d.       Defendants shall pay all non-exempt employees at least one and one-half their

               regular rates for all hours worked in excess of40 per workweek under Section 7;

      e.       Defendants shall not violate Section 11 of the FLSA, 29 U.S.C. § 211, and 29

               C.F.R. §516;

      f.       Defendants shall maintain and preserve records pursuant to Section 11 ofthe FLSA

               and 29 C.F.R. § 516; and

      g.       Defendants shall preserve these records for at least three years.

IT IS SO ORDERED.




Date: Augusts,2021
                                                     THEODORE D. CHUAl
                                                     United States District Jm
